                    IN THE COURT OF APPEALS OF NORTH CAROLINA

                                      2021-NCCOA-147

                                        No. COA20-462

                                      Filed 20 April 2021

     Union County, Nos. 17CRS52063-66, 17CRS52075

     STATE OF NORTH CAROLINA

                   v.

     JONATHAN JOSE POSNER


           Appeal by Defendant from judgments entered 11 December 2019 by Judge

     Alma Hinton in Franklin County Superior Court. Heard in the Court of Appeals 24

     March 2021.


           Attorney General Joshua H. Stein, by Assistant Attorney General Ebony
           Pittman, for the State-Appellee.

           Edward Eldred for Defendant-Appellant.


           COLLINS, Judge.


¶1         Defendant appeals from judgments entered upon pleas of guilty to five felonies,

     including felony larceny of property taken pursuant to a breaking or entering and

     larceny of a firearm. Defendant contends that the trial court erred by sentencing him

     for the two larceny convictions as they were part of the same transaction and by

     miscalculating his prior record level during sentencing. We remand with instructions

     to arrest judgment on one of the larceny convictions and for a new sentencing hearing.
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                        I.   Factual and Procedural Background

¶2         Defendant Jonathan Posner pled guilty on 11 December 2019 to robbery with

     a dangerous weapon, felony breaking or entering, felony larceny of property taken

     pursuant to a breaking or entering, felony larceny of a firearm, possession of a firearm

     by a felon, and felony speeding to elude arrest.

¶3         The trial court accepted Defendant’s plea and entered a consolidated judgment

     for the felony breaking or entering and felony larceny pursuant to a breaking or

     entering, and separate judgments for each of the remaining offenses. One felony prior

     record level worksheet was completed, which calculated Defendant to be a prior

     record level V with fifteen prior points. The trial court sentenced Defendant to 178

     to 263 months in prison. Defendant entered timely notice of appeal and filed a

     petition for writ of certiorari on 10 August 2020.

                                      II.     Discussion

     A. Larceny

¶4         Defendant petitions this Court to issue a writ of certiorari to address whether

     the trial court erred by entering judgments for both felony larceny of property taken

     pursuant to a breaking or entering and felony larceny of a firearm because both

     larcenies were a part of a “single taking” in the same transaction at the same time

     and place.

¶5         Defendant pled guilty to these larceny offenses and has no statutory right to
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     challenge this issue on appeal. See N.C. Gen. Stat. § 15A-1444(a2) (2019). Defendant

     may, however, “petition the appellate division for review by writ of certiorari.” Id. at

     § 15A-1444(e) (2019).

¶6         The State argues that this Court cannot grant Defendant’s petition for writ of

     certiorari because our Rules of Appellate Procedure allow this Court to issue a writ

     of certiorari only where “the right to prosecute an appeal has been lost by failure to

     take timely action, or when no right of appeal from an interlocutory order exists, or

     for review pursuant to N.C. [Gen. Stat. §] 15A-1422(c)(3) of an order of the trial court

     ruling on a motion for appropriate relief.” N.C. R. App. P. 21(a)(1). The State’s

     argument has been rejected by our North Carolina Supreme Court. See State v.

     Ledbetter, 371 N.C. 192, 814 S.E.2d 39 (2018); State v. Thomsen, 369 N.C. 22, 789

     S.E.2d 639 (2016); State v. Stubbs, 368 N.C. 40, 770 S.E.2d 74 (2015).

¶7         The General Assembly has given this Court jurisdiction to issue a writ of

     certiorari “in aid of its own jurisdiction[.]” N.C. Gen. Stat. § 7A-32(c) (2019). “[W]hile

     Rule 21 might appear at first glance to limit the jurisdiction of the Court of Appeals,

     the Rules cannot take away jurisdiction given to that court by the General Assembly

     in accordance with the North Carolina Constitution.” Stubbs, 368 N.C. at 44, 770

     S.E.2d at 76. Where, as here, “a valid statute gives the Court of Appeals jurisdiction

     to issue a writ of certiorari, Rule 21 cannot take it away.” Ledbetter, 371 N.C. at 196,

     814 S.E.2d at 42 (quoting Thomsen, 369 N.C. at 27, 789 S.E.2d at 643). Accordingly,
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       this Court has jurisdiction to grant Defendant’s petition for writ of certiorari.

¶8           “A petition for the writ must show merit or that error was probably committed

       below. Certiorari is a discretionary writ, to be issued only for good and sufficient cause

       shown.” State v. Rouson, 226 N.C. App. 562, 563-64, 741 S.E.2d 470, 471 (2013)

       (quotation marks and citation omitted). As Defendant’s petition shows merit and the

       consequences of the sentencing error are significant, we exercise our discretion for

       good and sufficient cause to grant the petition.

¶9           Defendant contends that the “single taking rule” prevents him from being

       convicted for both larceny offenses because they were part of the same transaction at

       the same time and place. We agree.

¶ 10         “The ‘single taking rule’ prevents a defendant from being charged or convicted

       multiple times for a single continuous act or transaction.” State v. Buchanan, 262

       N.C. App. 303, 306, 821 S.E.2d 890, 892 (2018) (citations omitted). “[A] single larceny

       offense is committed when, as part of one continuous act or transaction, a perpetrator

       steals several items at the same time and place.” State v. Adams, 331 N.C. 317, 333,

       416 S.E.2d 380, 389 (1992) (quoting State v. Froneberger, 81 N.C. App. 398, 401, 344

       S.E.2d 344, 347 (1986)).

¶ 11         The State concedes that on the merits of Defendant’s argument, Defendant is

       entitled to have judgment arrested on one larceny conviction because the larcenies

       were part of the same transaction. The State’s evidence showed that Defendant took
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       jewelry, a money clip, and a firearm from the same room of the victim’s residence

       during the commission of a single breaking or entering on 9 November 2017. Thus,

       Defendant was improperly charged, convicted, and sentenced for both felony larceny

       of property pursuant to a breaking or entering and felony larceny of a firearm because

       the takings occurred at the same time and place as part of one continuous act. See

       State v. Marr, 342 N.C. 607, 613, 467 S.E.2d 236, 239 (1996) (“Although there was

       evidence of two enterings, the taking of the various items was all part of the same

       transaction. We arrest judgment on two of the convictions of larceny.”). We remand

       with instructions for the Superior Court to arrest judgment upon one of the larceny

       convictions.

       B. Prior Record Level

¶ 12         Defendant next contends that his sentence was based on an incorrect finding

       of his prior record level.    Specifically, Defendant argues that the trial court

       miscalculated his prior record level by assigning one point for a prior conviction of

       possession of drug paraphernalia and one additional point based on prior convictions

       involving the same elements in three of his judgments.

¶ 13         Defendant is entitled to appeal as a matter of right whether his sentence was

       based on an incorrect finding of his prior record level.     N.C. Gen. Stat. § 15A-

       1444(a2)(1). The determination of a defendant’s prior record level is a conclusion of

       law that is subject to de novo review on appeal. State v. McNeil, 262 N.C. App. 340,
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       341, 821 S.E.2d 862, 863 (2018) (citation omitted).

          1. Prior Conviction

¶ 14          A defendant’s prior record level is determined by calculating the sum of the

       points assigned to each of the defendant’s prior convictions. N.C. Gen. Stat. § 15A-

       1340.14(a) (2019). Convictions for Class 1 misdemeanors are assigned one point,

       while no points are assigned for Class 3 misdemeanor convictions. N.C. Gen. Stat. §

       15A-1340.14(b)(5).     When determining a defendant’s prior record level, “the

       classification of a prior offense is the classification assigned to that offense at the time

       the offense for which the offender is being sentenced is committed.” N.C. Gen. Stat.

       § 15A-1340.14(c). The State has the burden of proving a defendant’s prior convictions

       by a preponderance of the evidence. N.C. Gen. Stat. § 15A-1340.14(f).

¶ 15          The trial court assigned one point for a 7 June 2012 conviction for possession

       of drug paraphernalia. At the time of that conviction, the offense of possession of

       drug paraphernalia was a Class 1 misdemeanor. See N.C. Gen. Stat. § 90-113.22
       (2012). However, in 2014, possession of marijuana drug paraphernalia became a

       Class 3 misdemeanor. See N.C. Gen. Stat. § 90-113.22A (2017); see also McNeil, 262

       N.C. App. at 342, 821 S.E.2d at 863-64 (discussing the legislative history of possession

       of drug paraphernalia). Accordingly, when Defendant committed the offenses in the

       case sub judice on 9 November 2017, possession of marijuana drug paraphernalia was

       a Class 3 misdemeanor for which no points could be assigned.
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¶ 16         The State conceded to the trial court that Defendant’s prior conviction was “a

       marijuana paraphernalia” and that “in light of the law today” it would be a Class 3

       misdemeanor.1 The State failed to meet its burden of showing that Defendant’s 2012

       possession of drug paraphernalia conviction should be considered a Class 1

       misdemeanor. See McNeil, 262 N.C. App. at 340, 821 S.E.2d at 863 (“Where the State

       fails to prove a pre-2014 possession of paraphernalia conviction was for non-

       marijuana paraphernalia, a trial court errs in treating the conviction as a Class 1

       misdemeanor.”). The trial court erred by assigning Defendant one prior point in all

       five judgments for his conviction of possession of drug paraphernalia.

          2. All Elements in a Prior Offense

¶ 17         Defendant next argues that the trial court erred by assigning one additional

       point based on his prior convictions when it calculated his prior record level.

¶ 18         A trial court may add one point if “all the elements of the present offense are

       included in any prior offense.” N.C. Gen. Stat. § 15A-1340.14(b)(6) (2019). Where a

       trial court uses the same felony prior record level worksheet to determine a

       defendant’s prior record level for two or more sentences, the worksheet must

       accurately reflect the defendant’s prior record level for each sentence. State v. Mack,



             1 Although the relevant inquiry is the classification of Defendant’s prior conviction on

       9 November 2017, the date the offense for which he was being sentenced was committed,
       rather than 11 December 2019, the date Defendant pled guilty, the relevant portions of N.C.
       Gen. Stat. §§ 90-113.22 and 90-113.22A were not altered or modified between these dates.
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       188 N.C. App. 365, 380, 656 S.E.2d 1, 12 (2008).

¶ 19         In the present case, the trial court entered five separate judgments and used

       the same felony prior record level worksheet for each judgment. Defendant had

       fifteen prior convictions, including convictions for possession of a firearm by a felon

       and felony breaking or entering. The trial court gave Defendant an additional point

       because “all of the elements of the present offense are included in a prior offense[,]”

       pursuant to N.C. Gen. Stat. § 15A-1340.14(b)(6).

¶ 20         The trial court did not err by giving Defendant an additional point for the

       present offenses of possession of a firearm by a felon and felony breaking or entering.

       However, because the elements of the present offenses of larceny of a firearm,

       speeding to elude arrest, and robbery with a dangerous weapon are not included in

       any of his prior offenses, the trial court erred by assigning an additional felony record

       point for the judgments entered upon those convictions.

          3. Prejudice

¶ 21         “This Court applies a harmless error analysis to improper calculations of prior

       record level points.” State v. Lindsey, 185 N.C. App. 314, 315, 647 S.E.2d 473, 474
       (2007) (citations omitted). If the trial court sentences a defendant under the proper

       record level, despite the improper calculation, the defendant suffers no prejudice and

       the error is harmless. See State v. Smith, 139 N.C. App. 209, 220, 533 S.E.2d 518,

       524 (2000) (“[B]ecause defendant was correctly found to have nine prior record points,
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       the erroneous finding of a tenth point based on his probationary status was harmless

       and defendant was correctly determined to have a prior record level of IV.”).

¶ 22          Here, the trial court erroneously added one point to all five judgments based

       on Defendant’s prior conviction for possession of drug paraphernalia. The trial court

       also erroneously added one point to Defendant’s judgments for larceny of a firearm,

       speeding to elude arrest, and robbery with a dangerous weapon, because it improperly

       found that “all of the elements of the present offense are included in a prior offense.”

       The combined effect of these two errors prejudiced Defendant because he should have

       been given thirteen prior record points and sentenced as a Level IV, instead of a Level

       V, for his convictions of felony larceny of a firearm, felony speeding to elude arrest,

       and felony robbery with a dangerous weapon. See N.C. Gen. Stat. § 15A-1340.14(c).2

       We remand those judgments for a new sentencing hearing.

                                         III.     Conclusion

¶ 23          We remand for the trial court to arrest judgment on either felony larceny

       pursuant to a breaking or entering or felony larceny of a firearm. We remand the

       convictions for felony larceny of a firearm (if judgment is not arrested), felony

       speeding to elude arrest, and felony robbery with a dangerous weapon for



              2 The erroneous addition of one point in Defendant’s judgments for possession of a

       firearm by a felon and felony breaking or entering was harmless because even when the
       erroneous point is subtracted, Defendant remains a Level V with fourteen prior record points.
       See N.C. Gen. Stat. § 15A-1340.14(c)(5) (“Level V - At least 14, but no more than 17 points.”)
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resentencing as a record level IV. We remand the conviction for felony breaking or

entering for resentencing as it was consolidated with the felony larceny of a firearm

conviction.

      JUDGMENT         ARRESTED        IN     PART      AND    REMANDED         FOR

RESENTENCING.

      Judges DILLON and ZACHARY concur.
